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IN THE UNITED sTATEs DIsTRIcT coURT `“

FoR THE wEsTERN DISTRICT oF TENNESSEE 9
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WU&WRMMH§PW
ANTHONY D. HAYES'

Plaintiff,
vs. No. 05-2230*D/V
CITY OF MEMPHIS, et al . ,

Defendants.

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ORDER GRANTING LEAVE TO PROCEED l§ FORMA PAUPERIS
ORDER OF PARTIAL DISMISSAL
ORDER DENYING MOTION FOR APPOINTMENT OF COUNSEL
AND
ORDER TO ISSUE AND EFFECT SERVICE ON REMAINING DEFENDANTS

 

 

Plaintiff Anthony D. Hayes filed.ea pro §§ complaint

pursuant to, inter alia, Title VII of the Civil Rights Act of 1964,

 

 

42 U.S.C. § 2000e pp ppgp, on March 28, 2005, along with a motion
seeking leave to proceed ip fp;mp pauperis and for appointment of
oounsel. The Court issued an order on June 6, 2005 directing the
plaintiff, within thirty days, to file a properly completed ip
fp;ma pauperis affidavit or pay the $250 civil filing fee.
Plaintiff filed a new ip fp;mg pauperis affidavit on June 28, 2005.
Based on the information set forth in the plaintiff’s affidavit,
the motion to proceed pp fp;ma pauperis is GRANTED. The Clerk shall
record the defendants as Memphis Mayor W.W. Herenton; Memphis

Director of Police Services Larry Godwin; Memphis Police Officer

Thls document entered on the docket sheet tn compliance
with Flu|e 58 and/or 79(a) FHCF' on ’

 

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Gray (IBM # 10590); the City of Memphis;l William Johnson, the
mayor of West Memphis, Arkansas; Robert Paudert, Chief of Police
Services for West Memphis, Arkansas; Mike Allen, the Assistant
Chief of Police Services for West Memphis, Arkansas; the City of
West Memphis, Arkansas;2 Andre Deberry, the mayor of Holly Springs,
Mississippi; Patricia Selman, the Chief of Police Services for
Holly‘ Springs, Mississippi; the City' of Holly Springs,
Mississippi;3 and Katrina I. Hayes, the estranged wife of the
plaintiff.

Subsequently, on May 31, 2005, plaintiff filed a document
entitled “Special Pleading for Injunction and Judicial Estoppel,”
which attaches additional documents relevant to this action.

I. Analvsis of Plaintiff’s Claims

The plaintiff is a former Memphis police officer. He
previously filed a number of lawsuits against the City of Memphis
and other' parties that culminated in a settlement reached on
January 20, 1999.4 In exchange for a payment of $643,000, plaintiff

agreed, inter alia, to resign from his employment with the Memphis

 

 

1 The Court construes the plaintiff's allegations against the “City of
Memphis Police Department” as an attempt to assert a claim against the City of
Memphis.

1 The Court construes the plaintiff's allegations against the “City of
West Memphis Police Department” as an attempt to assert a claim against the City
of West Memphis.

3 The Court construes the plaintiff’s allegations against the “City of
Holly springs, MS. Police Department" as an attempt to assert a claim against the
City of Holly Springs.

4 Plaintiff's federal suits were Hayes v. Citv of Memphis. et al., No.
95-2969-Ml/V (W.D. Tenn. filed Dec. 5, 1995); Haves v. Citv of Memphis, et al.,

No. 97-2197-Ml (w.D. Tenn. filed Mar. 5, 1997); and Hayes v. City of Memphis[ et

al., No. 98-2319-Ml (W.D. Tenn. filed Apr. B, 1998).

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Police Department and to release “all claims relating to, arising
out of or in any way connected with the employment and/or
termination of employment of [Plaintiff] by [Defendants].”
Additionally, the defendants agreed “to provide a neutral reference
to prospective employers of [Anthony Hayes] when such inquiry is
made.”

Since the settlement, plaintiff has filed other lawsuits
_against the City of Memphis and others in federal and state court.
On June 27, 2000, plaintiff filed a suit against the City of

Memphis and others alleging, inter alia, that the City breached the

 

neutral reference provision of the settlement agreement and, as a
result, the plaintiff has been unable to find unemployment with
other, nearby, police departments. Haves v. Citv of Memphis. et
alp, No. 00-2560~Ml/A (W.D. Tenn.). The Court issued an order on
November 4, 2002 granting summary judgment to the City on all
claims with the exception of a cdaim that the City failed to
provide a neutral reference to the Shelby County Sheriff's
Department.5 Subsequently, on July 31, 2003, the Court granted
summary judgment for the City on the remaining claim. Judgment was
entered on August 1, 2003. The United States Court of Appeals for
the Sixth Circuit affirmed. Haves v. Citv of Memphis. et al., 108
Fed. Appx. 262 (6th Cir. Aug. 9, 2004).

On August 31, 2001, plaintiff filed an action against the

City of Memphis in which he asserted that he was arrested and

 

5 That summary judgment was based, in part, on issue preclusion due to

a lawsuit the plaintiff filed in state court to enforce the neutral reference
provision of the settlement agreement.

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charged with a misdemeanor in retaliation for his previous
protected activity. On September l, 2001, District Judge Julia
Smith Gibbons dismissed the case, ppg sponte, pursuant to Heck v.
Humphrey, 512 U.S. 477 (1994). Haves v. Citv of Memphis, et al.,
No. 01-2695-G/A (W.D. Tenn.). Judgment was entered on September 20,
2001. Plaintiff’s appeal was dismissed for want of prosecution.
Haves v. Citv of Memphis, No. 01-6266 (6th Cir. Nov. 30, 2001).

Plaintiff's latest complaint, which asserts claims
against twelve parties in three states under numerous legal
theories, is difficult to decipher. It appears that the plaintiff's
wife, defendant Katrina Hayes, separated from him on September 3,
2000 and subsequently filed for divorce. On or about September 5,
2003, plaintiff asserted. that he was served. with an. order' of
protection obtained by his estranged wife, which he asserts was
unwarranted because she had not previously alleged any domestic
abuse.

On or about October 15, 2003, in connection with an
application he had.previously filed, plaintiff interviewed with the
West Memphis Police Department. Defendant Paudert allegedly told
the plaintiff that he could not be hired because of the order of
protection obtained by his estranged wife. Defendants Paudert and
Allen allegedly stated that plaintiff would be assured of a
position with the West Memphis Police Department if he were able to
resolve the matter of the order of protection.

Plaintiff allegedly reapplied to the West Memphis Police

Department on or about July of 2004. A Lieutenant Lawrence Vaughn

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allegedly informed the plaintiff that his background was clear.
Subsequently, on or about October l, 2004, plaintiff learned that
he would not be offered a position with the West Memphis Police

Department because he had a bad reference.

Plaintiff also applied to the Holly Springs Police
Department. During an interview in August, 2004, plaintiff was
asked about his employment status and his previous employment with
the Memphis Police Department. The complaint alleges, confusingly,
that “[t]his inquiry just proved to the Plaintiff that the
Defendant City of Memphis Police Department was still giving bad
references on. the Plaintiff, because of the request of Holly
Springs, MS. Detectives about the Plaintiff’s last employment
status was revealed to plaintiff that he was fired.”6

The complaint further alleges as follows:

9. That since the resignation of the Plaintiff
Hayes on January 20, 1999, the defendant City of Memphis
has continued to give bad references. The plaintiff has
felt that the Memphis Police Department through. its
agents has kept the Plaintiff Hayes under close
surveillance as a common criminal, however on February 1,
2005 between the hours of 1930 hrs and 1950hrs [sic], the
Plaintiff Hayes was traveling N/B on Milbranch signaling
to go W/B on Finley. The Plaintiff did notice a Memphis
Police Patrol Vehicle stopped in the S/B lane of
Milbranch with a Red Chevy Tahoe.

10. That when the Plaintiff Hayes proceeded to go
W/B to Finley the Police Vehicle immediately made a U-
turn in pursuit of the Plaintiff in the opposing N/B lane
on Milbranch disrupting traffic to pursue the Plaintiff
with no probable cause for a Traffic Violation. Officer
Gray, IBM# 10590, a Delta Car unit stopped me at the
intersection of W/B Finley at Graceland. The Plaintiff
was not given a reason for the stop but was stopped for

 

6 In fact, plaintiff was not fired but resigned pursuant to the
settlement agreement.

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20 minutes waiting without being asked for DL or ID which
seemed peculiar and strange to the Plaintiff because he
violated no law or ordinance.

ll. That it is well to note that the Plaintiff had
filed EEOC charges in the past and this harassment
appeared intentional, direct and with no basis for
probable cause for the Officer to stop the Plaintiff. The
Plaintiff had been accused by several officers in the
past of an allegation that was not true. Further the
defendant City of Memphis wrote an affidavit that the
Plaintiff had the propensity towards violence that was
not true but with a sworn document produce it to the
Appeals Court at Jackson, Tennessee. These repulsive acts
and threats places the Plaintiff is in [sic] continuous

danger and fear of his life. (Emphasis in original.)

The complaint purports to assert claims against each
defendant pursuant to (i) Title VII for race discrimination and
retaliation; (ii) 42 U.S.C. § 1981; (iii) and 42 U.S.C. § 1985; and
against the City of Memphis and defendants Herenton and Godwin
pursuant to 42 U.S.C. § 1986. Compl., pp. 8-10. In addition, the
first page of the complaint also asserts that
Plaintiff also seeks compensatory, punitive and.exemplary
damages pursuant to EPA Act, the Fair Labor Standards Act
pursuant to Title VII 42 U.S.C. Sections 1981, 1985,
1986, and 2000(e) [sic] et seq., for equal rights under
the law, conspiracy, defamation, unlawful employment
practices, unlawful detention and harassment.

The complaint seeks money damages.

The complaint in this action fails to comply with the
Federal Rules of Civil Procedure. In particular, Fed. R. Civ. P.
8(a)(2) requires “[a] pleading which sets forth a claim for relief”
to contain “a short and plain statement of the claim showing that

the pleader is entitled to relief.” Likewise, Fed. R. Civ. P. lO(b)

provides as follows:

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All averments of claim or defense shall be made in
numbered paragraphs, the contents of each of which shall
be limited as far as practicable to a statement of a

single set of circumstances . . . . Each claim founded
upon a separate transaction or occurrence . . . shall be
stated in a separate count . . . whenever a separation
facilitates the clear presentation of the matters sets
forth.

See also Fed. R. Civ. P. B(e)(l) (“Each averment of a pleading

shall be simple, concise, and direct.”).

The complaint, as drafted, presents this Court with a
management problem since “the pleading is so verbose that the Court
cannot identify' with clarity' the claim(s) of the pleader and
adjudicate such claim(s) understandingly on the merits.” Harrell v.
Directors of Bur. of Narcotics & Dancerous Drucs, 70 F.R.D. 444,446
(E.D. Tenn. 1975); see also Flavter v. Wisconsin Dep’t of

Corrections, 16 Fed. Appx. 507, 509 (7th Cir. Aug. 17, 2001)

 

(dismissing 116-page complaint pursuant to Rule 8(a)(2)); Vicom v.
Harbridge Merchant Servs., Inc., 20 F.3d 771, 775-76 (7th Cir.
1994) (criticizing district court for declining to dismiss amended
complaint with prejudice pursuant to Rule 8(a); noting that “[a]
complaint that is prolix and/or confusing makes it difficult for
the defendant to file a responsive pleading and makes it difficult
for the trial court to conduct orderly litigation); Plypale v.
Freeman, No. 90-2202, 1991 WL 54882 (6th Cir. Apr. 12, 1991);
Jennings v. Emry, 910 F.2d 1434, 1435 (7th Cir. 1990) (“A

complaint must be presented with intelligibility sufficient ‘for a
court or opposing party to understand whether a valid claim is

presented and if so what it is.’ . . . And it must be presented

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with clarity sufficient to avoid requiring a district court or
opposing party to forever sift through its pages in search of that
understanding.”) (citations omitted); Salahuddin v. Cuomo, 861 F.Zd
40 (2d Cir. 1988); Michaelis v. Nebraska State Bar Ass'n, 717 F.2d

437, 438-39 (Bth Cir. 1983) (per curiam); Gordon v. Green, 602 F.2d

 

743 (5th Cir. 1979); Windsor v. A Federal Executive Acencv, 614 F.
Supp. 1255 (M.D. Tenn. 1983) (ordering plaintiff to amend his
complaint to comply with Rule 8).

Although the length of this complaint is not
objectionable, it is extremely' unclear. The complaint asserts
numerous claims against twelve defendants, and the Court has been
unable to enumerate each of the claims asserted and, with respect
to each claim, identify the defendants against whom it is asserted.
Moreover, certain factual allegations of the complaint appear to
have no relation to any claim for relief. Seel e.g., Compl., pp. 2
(the City of Memphis and defendant Katrina Hayes conspired to
summon the plaintiff to Juvenile Court, an allegation that is not
explained in the body of the complaint), 8 (“the defendant City of
Memphis wrote an affidavit that the Plaintiff had propensity
towards violence that was not true but with. a sworn. document
produce it to the Appeals Court at Jackson, Tennessee,” an apparent
reference to an affidavit filed in state-court litigation that
predated the plaintiff's resignation from the Memphis Police
Department). Finally, the introduction. to the complaint makes
reference to various federal statutes and state tort claims without

making clear whether or not the plaintiff is asserting a claim for

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relief pursuant to those provisions and, if so, against which
defendants. §pp §pp;p p. 6.

If this were a paid complaint, the Court would order the
plaintiff to amend his complaint to comply with the Federal Rules
of Civil Procedure. Such a course is, however, unavailable when a
Court is screening a complaint pursuant to 28 U.S.C. §
1915(e)(2)(B). McGore v. Wricglesworth, 114 F.3d 601, 612 (6th Cir.
1997). Under these circumstances, the appropriate course ordinarily
is to dismiss the complaint without prejudice to the plaintiff's
right to commence a new action concerning the same subject matter,
so long as the new complaint is in compliance with the Federal
Rules of Civil Procedure. In this case, however, that course would
preclude this plaintiff from pursuing his Title VII claim against
the City of Memphis, as the ninety-day statutory period has already
expired. Accordingly, the Court will attempt to sever that claim
from the remainder of the complaint, which is subject to dismissal
without prejudice pursuant to Fed. R. Civ. P. 8(a)(2) and 10(b).

The Court is required to screen ip forma pauperis

 

complaints and to dismiss any complaint, or any portion thereof, if
the action-
(i) is frivolous or malicious;

(ii) fails to state a claim on which relief may be
granted; or

(iii) seeks monetary relief against a defendant who
is immune from such relief.

28 U.S.C. § 1915(e)(2). Certain aspects of plaintiff's complaint

are subject to dismissal.

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As a preliminary matter, the complaint asserts no basis
for jurisdiction over the plaintiff's Title VII claims against the
City of West Memphis, Arkansas and the City of Holly Springs,
Mississippi. Title VII contains its own venue provision, which

provides as follows:

Each United States district court and each United States
court of a place subject to the jurisdiction of the
United States shall have jurisdiction of actions brought
under this subchapter. Such an action may be brought in
any judicial district in the State in which the unlawful
employment practice is alleged to have been committed, in
the judicial district in which the employment records
relevant to such practice are maintained and
administered. or in the judicial district in which the
aggrieved person would have worked but for the alleged
unlawful employment practice, but if the respondent is
not found within any such district, such an action may be
brought within the judicial district in which the
respondent has his principal office. For purposes of
sections 1404 and 1406 of Title 28, the judicial district
in which the respondent has his principal office shall in
all cases be considered a district in which the action
might have been brought.

42 U.S.C. § 2000e-5(f)(3) (emphasis added).

Venue over the plaintiff's Title VII claim against the
City of West Memphis is only proper in the Eastern District of
Arkansas, Jonesboro Division, 28 U.S.C. § 83(a)(5), and venue over
the plaintiff's Title VII claim against the City of Holly Springs
is only proper in the Northern District of Mississippi, Western
Division, pdp, § 104(a)(2).

Ordinarily, the Court would transfer the case to the
district in which it should have been filed, pursuant to 28 U.S.C.
§ 1406(a), which states:

The district court of a district in which is filed a case

laying venue in the wrong division or district shall

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dismiss, or if it be in the interest of justice, transfer

such case to any district or division in which it could

have been brought.
That alternative is not available in this case, however, because
the plaintiff has commingled in a single complaint claims against
parties located in three states that have no connection to each
other apart from the fact that they involve this plaintiff.
Moreover, because of the extremely confusing way in which the
complaint is drafted, it is not practical to sever the Arkansas
claims and the Mississippi claims and transfer each to the
appropriate judicial district.

As a preliminary matter, the Court does not have subject-
matter jurisdiction over the plaintiff's Title VII claim against
the City of Holly Springs. “In order for federal courts to have
subject matter jurisdiction of [employment discrimination] claims,
the claimant must first unsuccessfully pursue administrative
relief.” Ang v. Proctor & Gamble Co., 932 F.2d 540, 545 (6th Cir.
1991). Moreover, the plaintiff's complaint must be “limited to the
scope of the EEOC investigation reasonably expected to grow out of
the charge of discrimination." EEOC v. Bailey, 563 F.2d 439, 446
(6th Cir. 1977) (internal citations omitted). In dealing with ppg
pp litigants, courts have tended to be npre lenient in their
assessment of what is contained in the charge and its relationship
to the content of the complaint. As the Sixth Circuit explained:

One reason for the expanded rule is that charges are
frequently filed by lay complainants,r and the courts
recognize that subsequent actions should not be

restricted by the failure of a complainant to attach the
correct legal conclusion to the EEOC claim, conform to

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procedural technicalities, or include “the exact wording
which might be required in a judicial pleading.”

Davis v. Sodexho, Cumberland College Cafeteria, 157 F.3d 460, 463

(6th Cir. 1998) (citation omitted); see also Apg, 932 F.2d at 546

(declining to broadly construe a Title VII charge because the

plaintiff “was assisted by counsel throughout the administrative

investigation. Liberal construction is not necessary where the
claimant is aided by counsel in preparing his charge.”). Thus,

“where facts related with respect to the charged claim would prompt

the EEOC to investigate a different, uncharged claim. the plaintiff

is not precluded from bringing suit on that claim. §§y;p, 157 F.3d

at 463.

In this case, the complaint asserts that the plaintiff
received right to sue letters with respect to the City of West
Memphis and the City of Memphis, Compl., p. 2, but the complaint
does not allege that the plaintiff exhausted his Title VII claim
against the City of Holly Springs. Accordingly, plaintiff's Title
VII claim against the City of Holly Springs is DISMISSED, pursuant
to Fed. R. Civ. P. l2(b)(1) and (h)(3), for lack of subject-matter
jurisdiction.

Moreover, the complaint, even broadly construed, does not
state a Title VII claim against the City of West Memphis and the
City' of Holly Springs. Title VII prohibits an employer from
discriminating against an employee on the basis of her race, color,
sex, religion, or national origin. 42 U.S.C. § 2000e-2(a)(1). Title

VII also prohibits an employer from retaliating against an employee

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“because he has opposed any practice made an unlawful employment
practice by this subchapter, or because he has made a charge,
testified, assisted, or participated in any manner in an
investigation, proceeding, or hearing under this subchapter.” ldp,
§ 2000e-3(a). The complaint in this case does not allege that the
City of West Memphis and the City of Holly Springs failed to hire
the plaintiff on account of his race or in retaliation for his
previous discrimination complaints. Instead, the complaint asserts
that plaintiff was not hired by these defendants because he
received unfavorable references from the City of Memphis. Compl.,
11 1-8. Those allegations do not state a claim under Title VII
against the City of West Memphis and the City of Holly Springs, and
those claims are DISMISSED, pursuant to 28 U.S.C. §
1915(e)(2)(B)(ii), for failure to state a claim on which relief may
be granted.

Moreover, the plaintiff cannot sue defendants Herenton,
Godwin, Gray, Johnson, Paudert, Allen, Deberry, and Selman under
Title VII. There is no remedy under Title VII against a co-worker
or supervisor in his or her individual capacity. Wathen v. General
Electric Co., 115 F.3d 400, 405 (6th Cir. 1997). Likewise, the
plaintiff cannot sue his estranged wife, Katrina Hayes, under Title
VII because she is not his “employer.” The Title VII claims against
each of the individual defendants are, therefore, DISMISSED,
pursuant to 28 U.S.C. § 1915(e)(2)(B)(ii), for failure to state a

claim on which relief may be granted.

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The complaint also does not assert a claim pursuant to 42
U.S.C. § 1981 against defendants Johnson, Paudert, Allen, the City
of West Memphis, Deberry, Selman, and the City of Holly Springs.7
Because the complaint alleges that reasons other than the
plaintiff's race accounted for the decisions not to hire him for
position in West Memphis and Holly Springs, the Court DISMISSES the
§ 1981 claim with respect to these defendants.r pursuant to 42
U.S.C. § 1981, for failure to state a claim. Similarly, the
complaint also does not allege that the plaintiff's face had any
role in the decision by defendant Katrina Hayes to obtain an order
of protection on the plaintiff. Accordingly, the Court DISMISSES
the § 1981 claim against defendant Katrina Hayes, pursuant to 28
U.S.C. § 1915(e)(2)(B)(ii), for failure to state a claim on which
relief may be granted.

Plaintiff also cannot sue defendants Johnson, Paudert,
Allen, the City of West Memphis, Deberry, Selman, and the City of
Holly Springs pursuant to 42 U.S.C. § 1985(3), which prohibits a
conspiracy “for the purpose of depriving, either directly or
indirectly, any person or class of persons of the equal protection
of the laws or of equal privileges and immunities under the laws.”

[I]n order to state a cause of action under § 1985, the

plaintiff must allege that the defendants (1) conspired
together, (2) for the purpose of depriving, directly or

 

7 Section 1981(a) provides as follows: “All persons within the
jurisdiction of the United States shall have the same right in every State and
Territory to make and enforce contracts, to sue, be parties, give evidence, and
to the full and equal benefit of all laws and proceedings for the security of
persons and property as is enjoyed by white citizens, and shall be subject to

like punishment, pains, penalties, taxes, licenses, and exactions of every kind,
and to no other."

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indirectly, a person or class of persons of the equal
protection of the laws, (3) and committed an act in
furtherance of the conspiracy, (4) which caused injury to
person or property, or a deprivation of any right or
privilege of a citizen of the United States, and (5) and
that the conspiracy was motivated by racial, or other
class-based, invidiously discriminatory animus.

 

Bass v. Robinson, 167 F.3d 1041, 1050 (6th Cir. 1999).

As previously mentioned in connection with plaintiff's §
1981 claim, the complaint, even construed liberally, does not
allege that these defendants sought to deprive the plaintiff of the
equal protection of the laws or that they were motivated by racial,
or other class-based, invidiously discriminatory animus.

Moreoyer, plaintiff also cannot maintain an action
pursuant to § 1985(3) action against defendants Johnson, Paudert,
Allen, the City of West Memphis, Deberry, Selman, and the City of
Holly Springs based on a retaliation theory. In Great Am. Fed.
Savings & Loan Ass'n v. Novotny, 442 U.S. 366, 378 (1979), the
Supreme Court held that “deprivation of a right created by Title
VII cannot be the basis for a cause of action under § 1985(3).”
Subsequently, in Day v. Wayne Countv Bd. of Auditors, 749 F.2d
1199, 1204 (6th Cir. 1984), the Sixth Circuit held, on the basis of
Novotny, that “Title VII provides the exclusive remedy when the
only § 1983 cause of action is based on a violation of Title VII.”
The plaintiff's retaliation claim arises from Title VII, rather
than from the U.S. Constitution and, therefore, it is barred by
Novotny and pr.

The Court therefore DISMISSES the § 1985(3) claim with

respect to defendants Johnson, Paudert, Allen, the City of West

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Memphis, Deberry, Selman, and the City of Holly Springs, pursuant
to 28 U.S.C. § 1915(e)(2)(B)(ii), for failure to state a claim on
which relief may be granted.

To the extent the complaint purports to assert any other
claims against defendants Johnson, Paudert, Allen, the City of West
Memphis, Deberry, Selman, and the City of Holly Springs, it is
DISMISSED without prejudice pursuant to Fed. R. Civ. P. 8(a)(2) and
10(b).8

That leaves the claims against defendants Herenton,
Godwin, Gray, and the City of Memphis, and the remaining claims
against defendant Katrina. Hayes. As a _preliminary inatter, the
complaint contains no factual allegations about defendants Herenton
and Godwin. When a plaintiff completely fails to allege any action
by a defendant, it necessarily “appears beyond doubt that the
plaintiff can prove no set of facts which would entitle him to
relief.” Spruytte v. Walters, 753 F.2d 498, 500 (6th Cir. 1985).
The complaint with respect to those defendants is DISMISSED,
pursuant to 28 U.S.C. § 1915(e)(2)(B)(ii), for failure to state a
claim on which relief may be granted.

Second, the Title VII claims against defendants Herenton,
Godwin, and Gray are DISMISSED, pursuant to 28 U.S.C. §

1915(e)(2)(B)(ii), on the basis of Wathen. See supra p. 13.

 

5 If the plaintiff is contemplating the filing of an amended complaint

to reassert any of the claims dismissed pursuant to Fed. R. Civ. P. B(a)(l) and
10(b), he is cautioned that it is likely that there is no personal jurisdiction
over these defendants in the Western District of Tennessee.

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Third, the complaint does not assert a valid § 1985(3)
claim against defendants Herenton, Godwin, Gray, the City of
Memphis, and Katrina Hayes. “[I]n order to demonstrate the
necessary conspiracy, a plaintiff must allege specific acts or
means by which the defendants were alleged to have conspired.”
Bryant-Bruce v. Vanderbilt Univ., Inc., 974 F. Supp. 1127 (M.D.
Tenn. 1997); see also Brooks v. American Broadcasting Cos., 932
F.2d 495 (6th Cir. 1991) (affirming denial of motion to amend to
add § 1985 clain\ because “the allegations are too vague and

conclusory to withstand a motion to dismiss”); Jaco v. Bloechle,

 

739 F.2d 239, 245 (6th Cir. 1984); Lindsey v. Allstate Ins. Co., 34
F. Supp.2d 636, 645 (W.D. Tenn. 1999); pip Gutierrez v. Lynch, 826
F.2d 1524, 1538 (6th Cir. 1987) (“It is well-Settled that
conspiracy claims must be pled with some degree of specificity and
that vague and conclusory allegations unsupported by material facts
will not be sufficient to state . . . a claim."; dismissing § 1983
conspiracy claim).

In this case, the complaint fails to allege any specific
facts indicating that these defendants conspired to violate the
plaintiff's civil rights. In particular, the allegation that “the
Memphis Police Department has conspired with Plaintiff’s estranged
wife to have him summoned for a false alleged protective order and
also to Juvenile Court prior to have him incarcerated in efforts to
prevent this suit from being filed,” is a conclusory assertion that
is not supported by any facts indicating that the City of Memphis

had any role in persuading defendant Katrina Hayes to obtain an

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order of protection against the plaintiff. Likewise, although the
complaint alleges that the someone employed by the Memphis Police
Department provided unfavorable references to the City of West
Memphis and the City of Holly Springs, the complaint does not
allege any facts that would permit a conclusion that the City of
Memphis or any of its employees conspired with the City of West
Memphis, the City of Holly Springs, or any employee of either
municipality. The complaint also is devoid of allegations that
would permit a conclusion that defendant Katrina Hayes had any
involvement in the provision of unfavorable references to
prospective employers of the plaintiff, the traffic stop of the
plaintiff on February 1, 2005, or any other harassment of the
plaintiff by the Memphis Police Department. The Court therefore
DISMISSES the § 1985(3) claim with respect to defendants Herenton,
Godwin, Gray, the City of Memphis, and Katrina Hayes, pursuant to
28 U.S.C. § l915(e)(2)(B)(ii), for failure to state a claim on
which relief may be granted.

Although the complaint also asserts a claim pursuant to
42 U.S.C. § 1986 against defendants Herenton, Godwin, and the City
of Memphis, any claim under 42 U.S.C. § 1986 is entirely derivative
of a valid claim pursuant to 42 U.S.C. § 1985. §p§§, 167 F.3d at
1051 n.5. Thus, the dismissal of the § 1985(3) claim mandates the
dismissal of the § 1986 claim, pursuant to 28 U.S.C. §
1915(e)(2)(B)(ii), for failure to state a claim on which relief may

be granted.

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Finally, to the extent the complaint can be construed as
alleging any claim, not previously addressed, other than (i) a
Title VII claim for race discrimination and retaliation against the
City of Memphis based on the unfavorable references allegedly given
to the City of West Memphis and the City of Holly Springs. and (ii)
a § 1981 claim for race discrimination against defendants Gray and
City of Memphis in connection with the February 1, 2005 traffic
stop, it is DISMISSED without prejudice pursuant to Fed. R. Civ. P.
8(a)(2) and 10(b).
II. Appointment of Counsel

The plaintiff has filed a motion seeking appointment of
counsel. Two statutes authorize the district court to request or
appoint counsel for an indigent Title VII plaintiff. Twenty-eight
U.S.C. § 1915(d) provides that the “court may request an attorney
to represent any such person unable to employ counsel.”9 Similarly,
under 42 U.S.C. § 2000e-5(f)(1), “upon application by the
complainant and in such circumstances as the court may deem just,
the court may appoint an attorney.” However, “[t]here is no
constitutional or . . . statutory right to counsel in federal civil
cases.” Farmer v. Haas, 990 F.2d 319, 323 (7th Cir. 1993).
Generally, a court will only appoint counsel in exceptional
circumstances, Willett v. Wells, 469 F. Supp. 748, 751 (E.D. Tenn.
1977). Although “no comprehensive definition of exceptional

circumstances is practical,” Branch v. Cole, 686 F.2d 264, 266 (5th

 

 

9 However, “§ 1915(d) does not authorize the federal courts to make

coercive appointments of counsel” to represent indigent civil litigants. Mallard
v. United States Dist. Court, 490 U.S. 296, 310 (1989).

 

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Cir. 1982), courts resolve this issue through. a fact-specific
inquiry. Wilborn v. Escalderon, 789 F.2d 1328, 1331 (9th Cir.
1986). Examining the pleadings and documents in the file, the Court
analyzes the merits of the claims, the complexity of the case, the
ppg pp litigant's prior efforts to retain counsel, and his ability
to present the claims. Henry v. City of Detroit Manpower Dep't, 763

F.2d 757, 760 (6th Cir. 1985); Wiggins v. Sargent, 753 F.2d 663,
668 (Bth Cir. 1985).

As a general rule, counsel should be appointed in civil
cases only if a litigant has made “a threshold showing of some
likelihood of merit.” Cooper v. A. Sargenti Co., 877 F.2d 170, 174
(2d Cir. 1989).10 At this stage of the proceedings, before the Court
has had the opportunity to assess the strength of plaintiff's case,
the Court is unable to conclude that plaintiff has satisfied that
standard. Moreover, a review of this complaint indicates that the
case is not so complex that the Court should exercise its
discretion to appoint counsel. Accordingly, the motion for
appointment of counsel is DENIED.

III. Issuance of Process

It is ORDERED that the Clerk shall issue process for the

remaining defendants, Gray and the City of Memphis, and deliver

said process to the marshal for service. In addition to the summons

 

1° The Second Circuit elaborated: “Courts do not perform a useful

service if they appoint a volunteer lawyer to a case which a private lawyer would
not take if it were brought to his or her attention. Nor do courts perform a
socially justified function when they request the services of a volunteer lawyer

for a meritless case that no lawyer would take were the plaintiff not indigent.”
Id.

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and complaint, service on the defendants shall include a copy of
this order. Service shall be made on the individual defendant
pursuant to Fed. R. Civ. P. 4(e)(l) and Tenn. R. Civ. P. 4.04(1) &
(10), either by mail or personally if mail service is not
effective. Service shall be made on the City of Memphis pursuant to
Fed. R. Civ. P. 4(j)(2) and Tenn. R. Civ. P. 40.4(8). All costs of
service shall be advanced by the United States.

lt is further ORDERED that the plaintiff shall serve a
copy of every further document filed in this cause on the attorney
for each defendant, or on any defendant that has no attorney. The
plaintiff shall make a certificate of service on every document
filed, The plaintiff shall familiarize himself with the Federal
Rules of Civil Procedure and this Court's Local Rules.

The plaintiff shall promptly notify the Clerk of any
change of address or whereabouts. Failure to comply with these
requirements, or any other order of the Court, may result in this
case being dismissed without further notice.

IT IS SO ORDERED this Iq¥\ day of August, 2005.

M_

jane
B ICE B. DONALD
UN D STATES DISTRICT JUDGE

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DIS,ITRCT COURT - WESTRE DISCTRIT oF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 7 in
case 2:05-CV-02230 Was distributed by faX, mail, or direct printing on
August 18, 2005 to the parties listed.

 

Anthony D. Hayes
45 54 Tammy Cove
Memphis7 TN 38116--203

Honorable Bernice Donald
US DISTRICT COURT

